Case 3:19-cv-00054-NKM-JCH Document 459 Filed 06/22/22 Page 1 of 2 Pageid#: 6495




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division


  KIERAN RAVI BHATTACHARYA,                     )
                                                )
                 Plaintiff,                     )
                                                )
  v.                                            ) Civil Action No. 3:19-CV-54-NKM-JCH
                                                )
                                                )
  JAMES B. MURRAY, JR., et al.,                 )
                                                )
                 Defendants.                    )
                                                )


                                ORDER REGARDING
                    DEFENDANTS’ SUPPLEMENTAL MOTION TO SEAL

         Presently before the Court is Defendants’ Supplemental Motion to Seal. ECF No. 458. On

  June 16, 2022, the Court ordered Defendants to submit this Motion in order to identify information

  that should be redacted from the Memorandum supporting their Motion for Summary Judgment

  and to identify any supporting exhibits containing private medical or educational information that

  should be maintained under seal. See Order, ECF No. 447. The Court also ordered Defendants to

  move to seal any other exhibits that they thought should be protected from disclosure. Id.

  Defendants submitted their required motion on June 21, 2022, in which they identified documents

  that should be redacted or sealed, as appropriate, to protect the Plaintiff’s privacy as well as the

  privacy of nonparty former students from the University of Virginia School of Medicine.

         In consideration of Defendants’ Motion, and for the reasons stated above and in the Court’s

  earlier Order of June 16, 2022, the Court ORDERS as follows:

         1.      The Clerk is DIRECTED to accept and file on the public docket Defendants’

  proposed redacted Memorandum in Support of their Motion for Summary Judgment.
Case 3:19-cv-00054-NKM-JCH Document 459 Filed 06/22/22 Page 2 of 2 Pageid#: 6496




         2.     The Clerk is further DIRECTED to maintain the following exhibits (and any sub-

  exhibits) that were previously submitted in support of Defendants’ Motion for Summary Judgment

  under seal: DX7, DX8, DX14, DX28, DX34, and DX57.

         3.     The Clerk is further DIRECTED to accept and file on the public docket Defendants’

  proposed redacted copies of the following exhibits (and any sub-exhibits) that were previously

  submitted in support of Defendants’ Motion for Summary Judgment: DX1, DX10, DX13, DX16,

  DX19, DX23, DX27, DX29, DX30, DX33, DX36, DX38, DX43, DX54, DX55, DX58, DX59,

  DX60, DX61, DX62, DX74, DX89, DX91, DX93, and DX94.

         4.     The index of exhibits previously submitted with Defendants’ Memorandum in

  Support of their Motion for Summary Judgment shall be maintained under seal. The Clerk is

  DIRECTED to unseal all other exhibits previously submitted in support of Defendants Motion for

  Summary Judgment.

         It is so ORDERED.

                                                    ENTERED: June 22, 2022




                                                    Joel C. Hoppe
                                                    United States Magistrate Judge
